    Case: 2:08-cr-00032-ALM Doc #: 48 Filed: 06/23/08 Page: 1 of 1 PAGEID #: 92




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       :
                                                :
                Plaintiff,                      :         Case No. 2:08-CR-032(3)
                                                :
          vs.                                   :         JUDGE ALGENON L. MARBLEY
                                                :
ROBERTO DEFIELD                                 :
                                                :
                Defendant.                      :

                                            ORDER

       On June 11, 2008, the Magistrate Judge issued a Report and Recommendation pursuant

to 28 U.S.C. § 636(b)(1) urging the Court to accept Defendant Roberto Defield’s guilty plea.

Defendant, represented by counsel, waived his right to appear on the matter before a District

Judge. The Magistrate Judge conducted the colloquy required by Federal Rule of Criminal

Procedure 11(b). Defendant’s plea was knowing, voluntary, free from coercion, and had a basis

in fact. Although Defendant was specifically informed of his right to contest the Report and

Recommendation and the consequences of his failure to do so, he did not object. Accordingly,

the Court ADOPTS the Report and Recommendation and ACCEPTS Defendant’s plea of guilty

to count one of the indictment.

       IT IS SO ORDERED.

                                                                s/Algenon L. Marbley
                                                                ALGENON L. MARBLEY
                                                       UNITED STATES DISTRICT COURT

Dated: June 23, 2008
